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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

UNITED STATES DISTRICT COURT

Middle District of Florida

___TAMPA

WAYNE A. LAWRENCE

for the

|

Division

Case No. & on eV 2S 301 36 S { t -

(to be filled in by the Clerk’s Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

=-\V-

JUDGE LAURALEE WESTINE; IN HER OFFICIAL
CAPACITY, IN HER INDIVIDUAL CAPACITY, FOR
MONETARY DAMAGES; ACTING UNDER THE

COLOR OF STATE LAW

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT AND REQUEST FOR INJUNCTION

The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

The Defendant(s)

WAYNE A. LAWRENCE
13920 CRATER CIRCLE
HUDSON , PASCO COUNTY
BEE wegoors :
727-378-7022 a
THENINTHPOWER@GMAIL.COM

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known). Attach additional pages if needed.

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Defendant No. 1

 

 

 

 

 

Name LAURALEE WESTINE

Job or Title (if known) CIRCUIT COURT CIVIL DIVISION TRIAL JUDGE
Street Address 7530 LITTLE ROAD

City and County NEW PORT RICHEY, PASCO COUNTY

State and Zip Code FLORIDA, 34654

Telephone Number 727-847-8128

 

E-mail Address (ifknown) — DBAMBERSKI@JUD6.ORG

 

Defendant No. 2

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V Federal question C] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

THIS IS A CIVIL ACTION SEEKING RELIEF AND OR DAMAGES TO DEFEND AND PROTECT THE
RIGHTS GUARANTEED BY THE CONSTITUTION OF THE UNITED STATES. THIS ACTION IS
BROUGHT PURSUANT TO 42 U.S.C. SECTION 1983. THE COURT JURISDICTION OVER THIS
ACTION PURSUANT TO 28 U.S.C. SECTION 1331, 1343(3) AND (4) AND 2201.

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)

 

 

a. If the plaintiff is an individual
The plaintiff, (name) , 18 a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

 

under the laws of the State of (name)

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s) -

 

 

a, If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Oris a citizen of
(foreign nation)

 

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b. If the defendant is a corporation
The defendant, (name) , 1S incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ,

 

and has its principal place of business in (name)

 

(ff more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

 

Il. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
needed.

A. Where did the events giving rise to your claim(s) occur?

THE JUDGE WAS MADE AWARE THAT THE CHILD NEVER GOT THE PROPER THERAPY BY DR.
HARTLEY IN EXPERT TESTIMONY. SHE STRONGLY RECOMMENDED TO IMMEDIATELY START
THE THERAPY BEFORE THE AGE OF 4. THE JUDGE IGNORED THE RECOMMENDATION. THE
DOCTOR FOLLOWED UP WITH A LETTER STILL THE JUDGE IGNORED THE ADVICE. FINALLY,
THE DOCTOR FOLLOWED UP WITH A COMPLETE REPORT ON WHY SHE MUST ALLOW THE
DAD TO BE HIS SON'S THERAPIST. THE JUDGE STILL IGNORED THE RECOMMENDATION AND
LIED THAT THE CHILD WAS IN THE BEST CARE AVAILABLE. TWO MONTHS HAVE PASSED
WITHOUT THE EIBI. THE JUDGE EVEN SCHEDULED A HEARING FOR THE ECLECTIC THERAPY

EYPERTS
B. What date and approximate time did the events giving rise to your claim(s) occur?

AUGUST 28, 2020 10:30 AM IN COURT DR. HARTLEY'S EXPERT TESTIMONY.
SEPTEMBER 2, 2020 AFTERNOON. LETTER TO JUDGE WESTINE. EXHIBIT "B"
SEPTEMBER 10, 2020 AFTERNOON. CLINICAL SUMMARY GIVEN. EXHIBIT °C"

TO THE PRESENT.

| AM ASKING FOR A TRIAL BY JURY INSTEAD OF BY JUDGE IN THIS COMPLAINT.

 

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C. What are the facts underlying your claim(s)? For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what ha,

THE GUARDIAN AD LITEM, THE Pe Eee IC THERAPY PROVIDERS, AND JUDGE, ALL TOOK THE
SIDE OF THE MOTHER AND STOPPED THE FATHER FROM PLACING THE CHILD IN THE EIBI
THERAPY. THE COURT CASE GARRIDO VS. DUDEK 864 F.Supp.2d 1314 (2012) WAS A CASE OF
TWO TYPES OF AUTISM THERAPY; ECLECTIC VS. EIBI AKA IBI, THE LOVAAS METHOD, EARLY
INTENSIVE INTERACTION. IT IS DONE ONE ON ONE; ADULT TO CHILD FOR AT LEAST 40
HOURS A WEEK FOR AT LEAST 2 YEARS. THE GOAL IS TO TEACH THE CHILD EVERYTHING
THEY NEED TO KNOW IN ORDER FOR THEM TO CATCH UP WITH THEIR SAME AGE PEERS AND
ATTEND REGULAR SCHOOL. THE CHILD BECOMES INDISTINGUISHABLE FROM THEIR PEERS
AND ARE CONSIDERED RECOVERED. THE STATE OF FLORIDA LOST TO THE EIBI EXPERTS.
THE HUSBAND WANTS THE CHILD TO GET THE EIBI; THE WIFE WANTS THE ECLECTIC
THERAPY SO SHE DOESN'T HAVE TO PAY CHILD SUPPORT TO THE HUSBAND.

 

Iv. Irreparable Injury

Explain why monetary damages at a later time would not adequately compensate you for the injuries you
sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation

could not be measured.
DR. VASCONCELLOS TESTIFIED THAT "STARTING ABA AT 4 YEARS OLD IS LATE.” THEREFORE, IT IS

IMPERATIVE THAT AUTISTIC CHILDREN IN FLORIDA RECEIVE ABA IMMEDIATELY TO PREVENT
IRREVERSIBLE HARM TO THESE CHILDREN'S HEALTH AND DEVELOPMENT.” ABA IS STIPULATED IN
THE CASE TO MEAN EIBI THERAPY. IN THE CASE, THE PRELIMINARY INJUNCTION BECAME
PERMANENT. FURTHERMORE, THE COURT FOUND THAT PAYING FOR ABA WOULD ULTIMATELY SAVE
PUBLIC FUNDS. DR. MULICK TESTIFIED THAT CHILDREN THAT DO NOT RECEIVE THE ABA BECOME "
TOTALLY DEPENDENT ON THE COMMUNITY AND STATE AND FEDERAL GOVERNMENT FOR SUPPORT.
THEY RECEIVE SOCIAL SECURITY SUPPORT, AND DOMICILIARY CARE. THEY OFTEN BECOME
INJURED AND REQUIRE...EXPENSIVE MEDICAL INTERVENTIONS.”

 

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

iti
punitive money damages. ACTS AND OMISSIONS DESCRIBED HEREIN VIOLATED PLAINTIFF'S RIGHTS

UNDER THE CONSTITUTION AND LAWS OF THE UNITED STATES. A PRELIMINARY AND PERMANENT
INJUNCTION ORDERING DEFENDANT TO ALLOW ME TO FUNCTION AS MY SON'S THERAPIST WITH THE
SUPERVISION OF THE CENTER FOR AUTISM AND RELATED DISORDERS (CARD) IN THE MARITAL
HOME; ORDER MRS. LAWRENCE TO START PAYING CHILD SUPPORT, AND FULL USE AND POSSESION
OF THE MERCEDES BENZ GLE350 SINCE IT IS THE ONLY WORKING CAR SO THE FATHER CAN TAKE
CARE OF ALL OF THEIR SON'S NEEDS AS HE UNDERGO THE EIB! PROGRAM: CONSISTING OF OVER 60
HOURS A WEEK OF THERAPY AND ALL HIS WAKING HOURS FOR AT LEAST TWO YEARS. ORDER THE
WIFE TO PAY HOUSE HOLD BILLS: ELECTRICITY, 100MBPS INTERNET, WATER, MORTGAGE. DAMAGES
FROM THE GOVERNMENT TOTALING 9.6 MILLION, 150 THOUSAND FOR FIVE YEARS OF EIBI, 2 MILLION
DOLLARS A PIECE FOR PAIN & SUFFERING, 1.8 MILLION LEGAL FEES FOR A LAWYER TO BE NAMED.

 

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VIL

Certification and Closing

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Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

lI agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

11/03/2020

 

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

WAYNE A. 7 WRENCE

 

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

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